              Case 22-2656, Document 89, 05/31/2023, 3523646, Page1 of 1




                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                          CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                   CLERK OF COURT

Date: May 31, 2023                                            DC Docket #: 12-cv-1466
Docket #: 22-2656cv                                           DC Court: SDNY (NEW YORK
Short Title: United States of America v. Siemens AG           CITY)
                                                              DC Judge: Carter


               INSTRUCTIONS FOR COUNSEL AND PRO SE LITIGANTS
                  WHO WILL APPEAR IN PERSON FOR ARGUMENT



Argument Date/Time:       Wednesday, June 7, 2023 at 10:00 am
Location:                 Thurgood Marshall U.S. Courthouse, 40 Foley Square,
                          New York, NY, 10007, 15th Floor, Room 1505

Time Allotment:           10 mins per side

Counsel and pro se litigants presenting oral argument must register with the courtroom deputy 30
minutes before argument.

Individuals who arrive at the courthouse for argument must meet the health screening
requirements and entrance protocols specified at the entrance to the building and should check
the Court’s website under Announcements for up to date information.

Upon registering with the courtroom deputy, the persons arguing the first case may take seats at
the lectern. The persons arguing the second case may take seats in the courtroom gallery. Those
arguing subsequent cases may take seats in the lawyers’ anteroom. The tables typically set aside
for those who argue must remain unoccupied.

The Court will continue to offer a livestream audio of the oral arguments.

All parties are advised that the Court may change the procedures for participating in oral
argument on short notice based upon updated public health information. Similarly, in deference
to pandemic-related considerations, a hybrid argument may be held, combining in-person and
remote participation by judges and parties.
